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                                    Document 1
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                                         UNITED STATES COURT OF APPEALS
                                                    FOR THE FOURTH CIRCUIT
                                          Lewis F. Powell, Jr. United States Courthouse Annex
                                                    1100 E. Main Street, Suite 501
                                                   Richmond, Virginia 23219-3517

    Patricia S. Connor                                  www.ca4.uscourts.gov                      Telephone
           Clerk                                                                                (804) 916-2700




                                                  April 21, 2005

              James E. McKissick Jr.
              PERRY CORRECTIONAL INSTITUTION
              #272076
              430 Oaklawn Road
              Pelzer, SC 29669



                         Re: 05-6562 McKissick v. Clary
                                     CA-04-135-7-HMH



              Dear Appellant:

                   This appeal was docketed on 4/20/05 pursuant to Rule 12
              of the Federal Rules of Appellate Procedure. Docket number 05-6562
              should be placed on all papers subsequently submitted to this Court.

                   Under the Prison Litigation Reform Act, prisoners must pay to the
              Clerk of the District Court the full appellate filing and docketing
              fee required for commencing an appeal. Full payment is required even
              if you proceeded in forma pauperis in the district court. If you are
              unable to prepay this fee, you may apply to pay the fee in installments
              by filing the enclosed forms with the Clerk's Office, U.S. Court of
              Appeals, on or before 5/6/05:

                           1.   Application to Proceed without Prepayment of Fees
                                (1 copy)
                           2.   Prisoner Trust Account Statement for the preceding
                                six months (2 copies)
                           3.   Consent to Collection of Fees from Trust Account
                                (2 copies)

                   You must give the Trust Account Statement form to a prison
              officer for each institution in which you have been confined during
              the preceding six months. A prison officer must complete and sign
              the Trust Account Statement and return the Statement and supporting
              documents to you. You must complete and sign the Application to
              Proceed without Prepayment of Fees and Consent to Collection of
              Fees from Trust Account and submit all copies of all three forms to
              the Clerk's Office, U.S. Court of Appeals, on or before 5/6/05 or
              your appeal will be subject to dismissal for failure to prosecute.

                   A prisoner who has previously filed, while incarcerated, three
              or more civil actions or appeals which were dismissed by a federal
              court as frivolous, malicious, or for failure to state a claim is not
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          eligible to proceed without prepayment of the full filing fee unless
          the prisoner is under imminent danger of serious physical injury. If
          this provision bars you from proceeding without prepayment, you must
          pay the full filing fee to the district court on or before 5/6/05
          or this appeal will be subject to dismissal for failure to prosecute.

               If you do not wish to proceed with this appeal, you may file
          a motion to dismiss the appeal under Rule 42(b) of the Federal Rules
          of Appellate Procedure, using the enclosed form. If the appeal is
          dismissed under Rule 42(b) now, no fees will be charged against your
          account. Once you have consented to collection of fees from your
          account, however, you may not withdraw your consent or avoid payment
          of the full appellate filing and docketing fee even if you voluntarily
          dismiss your appeal. A dismissal under Rule 42(b) is not a dismissal
          of the appeal as frivolous or malicious and would not count as one of
          the three such dismissals allowed under the Prison Litigation Reform
          Act.




                                           Yours truly,

                                           PATRICIA S. CONNOR
                                                 Clerk


                                               /s/ Lisa Jernigan
                                           By: ________________________
                                                Deputy Clerk

          Enclosure(s)

          cc:   James Dean Jolly Jr.
                Stacey Todd Coffee
                Clerk, U. S. District Court
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                                                                        ldj1E
                        MOTION FOR VOLUNTARY DISMISSAL



                             05-6562 McKissick v. Clary
                             CA-04-135-7-HMH



  My name is _____________________.    I am the Appellant/Petitioner in

  the case listed above which is pending in the United States Court

  of Appeals for the Fourth Circuit, in Richmond, Virginia.         Under Rule

  42(b) of the FEDERAL RULES OF APPELLATE PROCEDURE, I hereby move to

  have my case dismissed.    I understand that this appeal will be dismissed

  and will not be eligible to be reinstated at a later date.




                                                   _________________________
                                                           Signature
                                                  [Notarization Not Required]




                             Certificate of Service


  I certify that on ____________ I mailed a complete copy of this Motion to

  Dismiss and all attachments to all parties, addressed as is shown below.



                                                   _________________________
                                                           Signature
                                                  [Notarization Not Required]

  [List here each party's name and
  complete mailing address]
